                                  United States District Court,
                                      District of Columbia


David Alan Carmichael, et al.                         )
                                                      )
       Plaintiffs                                     )
                                                      )   Case No: 19-CV-2316-RC
               v.                                     )
                                                      )   Re: ECF 99, 99-2
Antony John Blinken, in his Offiicial                 )
       capacity as Secretary of State, et al.,        )
                                                      )
       Defendants                                     )


        PLAINTIFF CARMICHAEL’S MOTION FOR LEAVE OF LATE FILING
                        OF STATEMENT OF FACTS

   1. The attached statement of facts was finalized by Plaintiffs Carmichael and Pakosz and

was ready for filing on the due date. Today, while putting away the printed documents, I

realized that the Plaintiffs’ Statement of Fact in response to the Defendant’s motion for dismissal

was not filed with the other documents last night. It was from fatigue. I began work at 12:22

a.m., and had been diligently finalizing and compiling the documents with only a few ours of

napping in the morning. I was thrilled to get it all in by about 9 p.m., so that I could get some

dinner. There is no prejudice to our opponent being that it is a non-work day and we scheduled

extra time for a reply due to the Defendant Attorney’s previously scheduled activities (ECF-104).

It is a service of delivery error on my part. There I move for leave of the late filing of this

Plaintiffs Statement of Facts document which was ready for filing on time yesterday.

   Under the Penalty of Perjury under the laws of the United States, I declare it to be so:

s/David Alan Carmichael
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